                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:11-00194
                                                 )           JUDGE CAMPBELL
ORLANDO STEVERSON                                )

                                             ORDER

       Pending before the Court is a letter from the Defendant (Docket No. 1975) requesting a

sentence reduction under Amendment 782 of the United States Sentencing Guidelines.

       Pursuant to 18 U.S.C. § 3006A, the Court appoints the Federal Public Defender’s Office

to represent the Defendant, or if necessary, to designate a member of the Federal Defender’s

Panel to represent the Defendant.

       The Probation Office shall prepare a revised Presentence Investigation Report by

December 30, 2015, and provide a copy to counsel for the parties. Counsel for the Defendant

shall file any supplemental briefs in support of the reduction request on or before January 29,

2016, and the Government shall file any response on or before February 29, 2016.

       It is so ORDERED.


                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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